2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 1 of 17   Pg ID 1
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 2 of 17   Pg ID 2
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 3 of 17   Pg ID 3
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 4 of 17   Pg ID 4
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 5 of 17   Pg ID 5
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 6 of 17   Pg ID 6
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 7 of 17   Pg ID 7
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 8 of 17   Pg ID 8
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 9 of 17   Pg ID 9
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 10 of 17   Pg ID 10
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 11 of 17   Pg ID 11
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 12 of 17   Pg ID 12
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 13 of 17   Pg ID 13
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 14 of 17   Pg ID 14
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 15 of 17   Pg ID 15
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 16 of 17   Pg ID 16
2:16-cv-10944-AJT-RSW   Doc # 1   Filed 03/16/16   Pg 17 of 17   Pg ID 17
